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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                                   CASE NO. 15CR1417-AJB

                            Plaintiff,
                   vs.                                      JUDGMENT OF DISMISSAL
MIRIAM KASSANDRA GUEVARA,

                            Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason' that:
               ,   - ' .                                                             '.   - '"       :',: "


          an indictmenthallbeen filed in anothei:: ca"e aga,j.nst the' <:iefendant and
       . the" Court hOlsgr!J,nted.. the motion oJ the ~overhmetre . for dismissal of
       '. this. case,cl1J:'thputpiejudice:or                .. '.,
                                               -   "   ..
                                     -""". '
       ,the Court 'has d'L:ol1n'issedthe 'c,itse.fo.£
                                                  , .:,
                                                        Unrt(3. teslla}y. delay; or
_X_· the Court has gra,nteq. the moUon tl1ft1 Gi~vermnehj: for dismissal,
                                                            of
     yithoutpFejudicer o r . : , '

        the Court has granted the motion ,of the defendant for a jUdgment of
        acqUit tal ; oj;'
                                                             -." .
-.-
 ..
  -.
       . a jury ha~ r>eeil.\'iai ve5:i,ab:d th.e Court .h!J,s.f<::>und the defendant not
       . guilty; or

        the jury has retl1rnEid its verdict, :Einding the defendant not. guilty;..
                    -                   ..                           -                                 .
-1L- of the offense (s) as charged in the Indictmenj:/Information:·
        21:9.52 and 960 - Unlawful. Impqrtation qfp.Contr.olled Substance
                                                                           ';'." .

                                                                         "', "

               ITiSTHEREE:ORE ADJUPGEiP:;that tMdeferida,nt is hereby discharged.


 DATEP: 8/11/201.5
                                                              William V.Gallo
                                                            . U.. S. ,MagiStrate JUdge
